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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF TENNESSEE
                          WESTERN DIVISION

                                    )
UNITED STATES OF AMERICA,           )
                                    )
     Plaintiff,                     )
                                    )
v.                                  )    No. 2:13-cr-20176-SHM-01
                                    )
TERRANCE MACKLIN,                   )
                                    )
     Defendant.                     )
                                    )

         ORDER DENYING MOTION FOR COMPASSIONATE RELEASE


     Before the Court is Terrance Macklin’s November 13, 2020

letter. (D.E. No. 155.) The Court construes the letter as a

motion for compassionate release. Based on the supervised release

violation hearing held on January 12, 2021, Macklin has withdrawn

his motion, and the motion has become moot. The motion for

compassionate release is DENIED AS MOOT.

     SO ORDERED this __12th___ day of January, 2021.



                                   /s/ Samuel H. Mays, Jr.
                                  SAMUEL H. MAYS, JR.
                                  UNITED STATES DISTRICT JUDGE
